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 AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                     D istrict of Delaw are


                  In the M atter of the Search of
                                                                                 )
           {Briefly describe the property to be searched
            or identify the person by name and address)

 A SAMSUNG GALAXY AO1 SMARTPHONE , SERIAL
                                                                                 )
                                                                                 )
                                                                                 )
                                                                                             Case No. 21 -   2-1.JfV\
           NUMBER R9PN50WH28J                                                    )
                                                                                 )

     APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEA S
         I , a federal law enforcement officer or an attorney for the government, request a search warrant and state u der
 penalty of perj ury that I have reason to bel ieve that on the foll owi ng person or property (identify the person or describe fhe
property to be searched and give its location) :
  See Attachment A.

 located in the       _ _ _ _ __ __ D istrict of _____D_e_la_w_a_r_
                                                                  e _ _ _ _ , there is now concealed {identiff the
person or describe the property to be seized):
  See Attachment B.


            The bas is for the search under F ed. R. Crim . P. 4 1(c) is (check one or more) :
                    fl evidence of a crim e;
                    fl contraband, fruits of cri me, or other items illegally possessed;
                    it property des igned for use, i ntended for use, or used in comm itting a cri me;
                    0 a person to be arrested or a person w ho is unl awfully restrai ned .

            T he search is related to a vio lation of:
              Code Section                                                                   Offense Description
          18 U.S.C. §§ 2252A(a)(2 and              Distribution of ch ild pornog raphy; possess ion of child pornography.
          (a)(5)
                                                                                                                              FILED
See affidavit in support of search wa rrant.

                                                                                                                      AUG -           2021
            Qf'    Conti nued on the attached sheet.
             0 D elayed notice of                  days (give exact ending date if more than 30 days:

            18 U .S.C . § 3103a, the basis of w hich is set forth on the attached sheet.
                                                                                                             /s/ Linh Phung
                                                                                                        Applicant's signature

                                                                                                  Linh Phung , Special Agent, FBI
                                                                                                        Printed name and title
 Attested to by the app licant in accordance with the requ irements offed. R . Crim . P. 4. 1 by
_ _ _ _ _ _ _ _t_e_le_,_p_h_o_n_
                               e _ _ _ _ _ _ _ _ (specify reliable electronic means) .


 D ate:             08/04/2021


 City and state : Wilmington , Delaware                                               Hon . Mary Pa Thynge , Chief U.S. Magistrate Judge
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                                                                             J                          Printed name and title


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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 IN THE MATTER OF THE SEARCH OF:
 A SAMSUNG GALAXY AOl                               Case No.   21- 1.1 \ M
 SMARTPHONE, SERIAL NUMBER
 R9PN50WH28J



                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Linh Phung, a Special Agent with the Federal Bureau of Investigation (FBI), Baltimore

Division, Baltimore, Maryland, being first duly sworn, hereby depose and state as follows:

                                      INTRODUCTION

       I.     I make this affidavit in support of an application for a search warrant under Rule

41 of the Federal Rules of Criminal Procedure to search the following: a Samsung Galaxy AO I

Smartphone, serial number R9PN50WH28J (hereinafter the "TARGET DEVICE"), described in

Attachment A, for evidence described in Attachment B.

       2.     I have been a Special Agent with the FBI since May 2006. I am currently assigned

to the Maryland Child Exploitation and Human Trafficking Task Force in the Baltimore Division

and have been assigned to investigate federal violations concerning child pornography and the

sexual exploitation of children. During my employment with the FBI, I have gained experience

through training in seminars, classes, and daily work related to conducting these types of

investigations. In addition, I have also received training regarding the use of the internet and

digital communications as they pertain to federal investigations.    I have participated in the

execution of numerous search warrants, of which the majority have involved child exploitation

and/or child pornography offenses . Many of the child exploitation and/or child pornography

search warrants resulted in the seizure of computers, cell phones, magnetic storage media for
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computers, other electronic media, and other items evidencing violations offederal laws, including

various sections of Title 18, United States Code § 2252A involving child exploitation offenses. I

have also participated in the execution of numerous search warrants for online accounts, such as

email accounts, online storage accounts and other online communication accounts related to child

exploitation and/or child pornography . In the course of my employment with the FBI, I have

observed and reviewed numerous examples of child pornography (as defined in 18 U.S.C. § 2256)

in all forms of media including computer media and within on line accounts.

       3.      As a federal agent, I am authorized to investigate violations of laws of the United

States and am a law enforcement officer with the authority to execute warrants issued under the

authority of the United States.

       4.      There is probable cause to believe that the TARGET DEVICE contains evidence

of violations of Title 18, United States Code, Section 2252A(a)(2) (distribution of child

pornography); and Title 18, United States Code, Section 2252A(a)(5)(B) (possession of child

pornography) (hereinafter the " SPECIFIED FEDERAL OFFENSES ").

       5.      The statements in this affidavit are based in part on information and reports

provided by the FBI and Delaware Probation and Parole, and on my experience and background

as a Special Agent of the FBI. Since this affidavit is being submitted for the limited purpose of

securing a search warrant, I have not included each and every fact known to me concerning this

investigation. I have set forth only the facts that I believe are necessary to establish probable cause

to believe that evidence, fruits , and instrumentalities of the violations of the SPECIFIED

FEDERAL OFFENSES are located within the TARGET DEVICE.




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                        SPECIFIED FEDERAL OFFENSES

  6.     As noted above, this investigation concerns alleged violations of the following:

          a.       Title 18, United States Code, Sections 2252A(a)(2) prohibit a person from
  knowingly receiving or distributing any child pornography or any material that contains
  child pornography, as defined in 18 U.S.C. § 2256(8), that has been mailed, or using any
  means or facility of interstate or foreign commerce shipped or transported in or affecting
  interstate or foreign commerce by any means, including by computer; or any material that
  contains child pornography that has been mailed, or using any means or facility of interstate   I
  or foreign commerce shipped or transported in or affecting interstate or foreign commerce
  by any mean, including by computer.

           b.      Title 18, United States Code, Sections 2252A(a)(5)(B) prohibit a person
  from knowingly possessing or knowingly accessing with intent to view, or attempting or
  conspiring to do so, any material that contains an image of child pornography, as defined
  in 18 U.S.C. § 2256(8), that has been mailed, or shipped or transported using any means or
  facility of interstate or foreign commerce or in or affecting interstate or foreign commerce,
  by any means, including by computer, or that was produced using materials that have been
  mailed or shipped or transported in or affecting interstate or foreign commerce by any
  means, including by computer.


                                    DEFINITIONS

  7.     The following definitions appl y to this Affidavit and Attachment B:

          a.     "Chat," as used herein , refers to any kind of text communication over the
  Internet that is transmitted in real-time from sender to receiver. Chat messages are
  generally short in order to enable other participants to respond quickly and in a format that
  resembles an oral conversation. This feature distinguishes chatting from other text-based
  online communications such as Internet forums and email.

         b.      "Chat room," as used herein, refers to the ability of individuals to meet in
  one location on the Internet in order to communicate electronically in real-time to other
  individuals. Individuals may also have the ability to transmit electronic files to other
  individuals within the chat room.

         c.      " Child erotica," as used herein, means materials or items that are sexually
  arousing to persons having a sexual interest in minors but that are not necessarily obscene
  or do not necessarily depict minors engaging in sexually explicit conduct.

          d.     "Child pornography," as defined in 18 U.S.C. § 2256(8), is any visual
  depiction, including any photograph, film , video, picture, or computer or computer-
  generated image of picture, whether made or produced by electronic, mechanical or other
  means, of sexually explicit conduct, where (a) the production of the visual depiction


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  involved the use of a minor engaged in sexually explicit conduct, (b) the visual depiction
  is a digital image, computer image, or computer-generated image that is, or is
  indistinguishable from , that of a minor engaged in sexually explicit conduct, or (c) the
  visual depiction has been created, adapted, or modified to appear that an identifiable minor
  is engaged in sexually explicit conduct.

          e.     " Computer," as used herein, refers to "an electronic, magnetic, optical,
  electrochemical, or other high speed data processing device performing logical or storage
  functions, and includes any data storage facility or communications facility directly related
  to or operating in conjunction with such device" and includes smartphones, tablets, and
  mobile phones and devices. See 18 U.S.C. § l 030(e)(l).

          f.      "Computer hardware," as used herein, consists of all equipment that can
  receive, capture, collect, analyze, create, display, convert, store, conceal , or transmit
  electronic, magnetic, or similar computer impulses or data. Computer hardware includes
  any data-processing devices (including central processing units, internal and peripheral
  storage devices such as fixed disks, external hard drives, floppy disk drives and diskettes,
  and other memory storage devices) ; peripheral input/output devices (including keyboards,
  printers, video display monitors, and related communications devices such as cables and
  connections); as well as any devices, mechanisms, or parts that can be used to restrict
  access to computer hardware (including physical keys and locks).

          g.     "Computer passwords and data security devices," as used herein, consist of
  information or items designed to restrict access to or hide computer software,
  documentation, or data. Data security devices may consist of hardware, software, or other
  programming code. A password (a string of alpha-numeric characters) usually operates
  what might be termed a digital key to "unlock" particular data security devices. Data
  security hardware may include encryption devices, chips, and circuit boards. Data security
  software may include programming code that creates "test" keys or "hot" keys, which
  perform certain pre-set security functions when touched. Data security software or code
  may also encrypt, compress, hide, or " booby-trap" protected data to make it inaccessible
  or unusable, as well as reverse the process to restore it.

          h.     "Hashtag," as used herein, refers to a word or phrase preceded by a hash or
  pound sign (#), which is used to identi fy messages or groups on a specific topic.
          i.     The "Internet" is a global network of computers and other electronic devices
  that communicate with each other. Due to the structure of the Internet, connections between
  devices on the Internet often cross state and international borders, even when the devices
  communicating with each other are in the same state.

           j.      " Internet Protocol address" or "IP address," as used herein, refers to a
  unique number used by a computer or other digital device to access the Internet. An IP
  address looks like a series of four numbers, each in the range 0-255, separated by periods
  (e.g. , 121.56.97 .178). Every computer or device accessing the Internet must be assigned an
  IP address so that Internet traffic sent from and directed to that computer or device may be
  directed properly from its source to its destination. Most Internet Service Providers (ISPs)


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  control a range of IP addresses. IP addresses can be "dynamic," meaning that the ISP
  assigns a different unique number to a computer or device every time it accesses the
  Internet. IP addresses might also be "static," if an ISP assigns a user' s computer a particular
  IP address that is used each time the computer accesses the Internet. ISPs typically maintain
  logs of the subscribers to whom IP addresses are assigned on particular dates and times.

          k.     "Internet Service Providers" ("ISPs"), as used herein, are commercial
  organizations that are in business to provide individuals and businesses access to the
  Internet. ISPs provide a range of functions for their customers including access to the
  Internet, web hosting, e-mail , remote storage, and co-location of computers and other
  communications equipment.

          I.     "Minor," as defined in 18 U.S.C. § 2256(1), refers to any person under the
  age of eighteen years .

         m.     "Mobile applications," as used herein, are small , specialized programs
  downloaded onto mobile devices that enable users to perform a variety of functions , I
  including engaging in online chat, reading a book, or playing a game.
                                                                                                     I


         n.      "Records," "documents," and "materials," as used herein, include all
  information recorded in any form , visual or aural, and by any means, whether in handmade,
  photographic, mechanical, electrical , electronic, or magnetic form.

          o.     "Remote Computing Service" ("RCS"), as defined in 18 U.S.C. § 2711(2),
  is the provision to the public of computer storage or processing services by means of an
  electronic communications system.

          p.      " Sexually explicit conduct," as defined in 18 U.S.C. § 2256(2), means
  actual or simulated (a) sexual intercourse, including genital-genital, oral-genital, anal-
  genital, or oral-anal, whether between persons of the same or opposite sex; (b) bestiality;
  (c) masturbation; (d) sadistic or masochistic abuse; or (e) lascivious exhibition of the
  genitals or pubic area of any person.

         q.     A "storage medium" is any physical object upon which computer data can
  be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs,
  and other magnetic or optical media.

          r.     "Visual depiction," as defined in 18 U.S.C. § 2256(5), includes
  undeveloped film and videotape, data stored on computer disc or other electronic means
  which is capable of conversion into a visual image, and data which is capable of conversion
  into a visual image that has been transmitted by any means, whether or not stored in a
  permanent format.




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SUMMARY CONCERING CHILD PORNOGRAPHY, PERSONS WHO POESSES AND
 COLLECT CHILD PORNOGRAPHY AND HOW USE OF COMPUTERS AND THE
   INTERNET RELATE TO THE POSSESSION OF CHILD PORNOGRAPHY

       8.      Based on my investigative experience related to child pornography investigations,

and the training and experience of other law enforcement officers with whom I have had

discussions, I have learned individuals who utilize the internet to view and receive images of child

pornography are often individuals who have a sexual interest in children and in images of children,

and there are certain characteristics common to such individuals, including the following:

               a.     Individuals who have a sexual interest in children or images of children may
                      receive sexual gratification, stimulation, and satisfaction from contact with
                      children, or from fantasies they may have viewing children engaged in
                      sexual activity or in sexually suggestive poses, such as in person, in
                      photographs, or other visual media, or from literature describing such
                      activity.

               b.     Individuals who have a sexual interest in children or images of children may
                      collect sexually explicit or suggestive materials, in a variety of media.
                      Individuals who have a sexual interest in children or images of children
                      oftentimes use these materials for their own sexual arousal and gratification.
                      Further, they may use these materials to lower the inhibitions of children
                      they are attempting to seduce, to arouse the selected child partner, or to
                      demonstrate the desired sexual acts .

               c.     Individuals who have a sexual interest in children or images of children
                      typically retain pictures, films , photographs, negatives, magazines,
                      correspondence, books, tape recordings, mailing lists, child erotica, and
                      videotapes for many years.

               d.      Likewise, individuals who have a sexual interest in children or images of
                       children often maintain their collections that are in a digital or electronic
                       format in a safe, secure and private environment, such as a computer, cell
                       phone or tablet, and surrounding area. These collections are often
                       maintained for several years and are kept close by, usually at the collector' s
                       residence, or in on line stores, email accounts or other on line communication
                       accounts, to enable the individual to view the collection, which is highly
                       valued by the individual.

               e.      Individuals who have a sexual interest in children or images of children also
                       may correspond with and/or meet others to share information and materials,
                       conceal such correspondence as they do their sexually explicit material, and
                       often maintain lists of names, addresses, and telephone numbers of

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                      individuals with whom they have been in contact and who share the same
                      interests in child pornography. This data is typically in digital format, and
                      often maintained on computers, cell phones and in online storage, email
                      accounts or other online communication accounts.

              f.      Individuals who have a sexual interest in children or images of children
                      prefer not to be without their child pornography for any prolonged time
                      period.    This behavior has been consistently documented by law
                      enforcement officers involved in the investigation of child pornography.

       9.     Based on my investigative experience related to computer and internet related child

pornography investigations, and the training and experience of other law enforcement officers with

whom I have had discussions, I have learned the following:

              a.      Computers, smartphones, and the internet are all methods used by child
                      pornography collectors and those with an interest in sexual encounters with
                      children to interact with and sexually exploit children.

              b.      Child pornography can be transferred via electronic mail or through file
                      transfer protocols (FTP) to anyone with access to a computer and modem.
                      Because of the proliferation of commercial services that provide electronic
                      mail service, chat services (i.e. "Instant Messaging"), easy access to the
                      internet, and online file sharing and storage, electronic devices are the
                      preferred method of distribution and receipt of child pornographic
                      materials.

              c.      The internet affords collectors of child pornography several different
                      venues for obtaining, viewing, and trading child pornography in a relatively
                      secure and anonymous fashion. Collectors and distributors of child
                      pornography as well as those with an interest in sexual contact with children
                      use online resources to retrieve and store child pornography and to
                      communicate with children, including services offered by internet portals
                      such as AOL Inc. , Yahoo! And Google, Inc., Facebook, Dropbox,
                      Instagram, and others. The on line services allow a user to set up an account
                      with a remote computing service that provides email services, file exchange
                      services, messaging services, as well as electronic storage of computer files
                      in a variety of formats . A user can set up an online storage account from
                      any computer with access to the internet, including (for example) a smart
                      phone. Email accounts, online storage accounts, and other online
                      communication accounts allow users to save significant amounts of data.

              d.      In my recent investigative experience, as well as recent discussions with law
                      enforcement officers, I know the individuals who collect child pornography
                      are using email accounts, online storage accounts, and other online


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                         communication accounts to obtain, store, maintain, and trade child
                         pornography with growing frequency , in addition to, or as an alternative to,
                         the use of personal devices.

       10.     Modern communications, including through smart phones and computers equipped

with communications applications like Facebook Messenger, WhatsApp, and many others, allow

near instantaneous contact through voice, text, video, and images.         Individuals with a sexual

interest in children, whether or not they are also interested in child pornography, make use of these

modern communications systems to contact children, including for the purpose of initiating sexual

encounters with children.

                                          KIKANDMEGA

       11.     Kik is a free instant messenger application for mobile devices in which users can

send text messages, pictures, and videos to other users. Users can communicate directly with an

individual or with multiple users in a group chat. When signing up for a Kik account, a user

supplies an email address (which does not need to be verified), a unique username, and a display

name that is seen when chatting with others. Kik may retain images and video content sent and

received by users for approximately 30 days. Kik may also retain a log of all the messages that a

user has sent and received, including senders ' and receivers ' usernames; however, the log does not

include the actual message that was sent. The text of the chat messages sent may be stored locally

on the user's devices.

       12.     MEGA refers to an online storage medium accessed from a computer, electronic

storage device, web browser, or one of MEGA ' s software applications. As an example, online

storage mediums such as MEGA make it possible for the user to have access to saved files without

the requirement of storing said files on their own computer or other electronic storage device.

MEGA is an "offsite" storage medium for data that can be viewed at any time from any device



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capable of accessing the internet. Users can store their files on MEGA and avoid having the files

appear on their computer. Anyone searching an individual ' s computer that utilizes MEGA would

not be able to view these files if the user opted only to store them at an offsite such as MEGA.

These are often viewed as advantageous for collectors of child pornography in that they can enjoy

an added level of anonymity and security.

                                            PROBABLE CAUSE

          13.    From on or about July 12, 2021 to July 20, 2021, an online undercover Task Force

Officer (the "UC") communicated with Kik user "melv 19702," who had a display name of "Mel

J. " The UC communicated with "Mel J" in a private Kik group known to the UC as a group where

people meet to discuss and exchange sexually explicit images and videos of children. During the

course of the chat conversations, the UC told "Mel J" that he was sexually active with his purported

eight-year-old daughter. The UC also sent non-pornographic images of his purported daughter to

"Mel J." 1

          14.    "Mel J" told the UC that he was in jail for four years for child pornography and that

he was caught on Kik. "Mel J" also told the UC that he was currently still on probation and that

his probation officer did not know about his burner phone. Excerpts from the conversations

between Mel J and the UC are depicted below. The first excerpt is from a conversation that took

place on Kik. The second excerpt is from a conversation that took place via text message. "Mel

J" provided the UC with his phone number via Kik. Both conversations took place on July 12,

2021.

                 Excerpt #1

                 UC:    Loi , what' s the dirtiest u done Io! ? I'm no limits and not a cop so I'm safe
                 Mel J: Loi had a l lyo fuck her male dog and get knotted in her ass


1
    The images the UC sent did not depict a real child .

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              UC:      Mmmm on vid
              UC:     I cum and play with my 8 yo Dau when she sleeps
              Mel J : Nice and na unfortunately I lost it when I went to jail
              UC:     I had a close call
              UC:     Myself, what u get busted for
              [ UC sent a picture but it was black]
              Mel J: Cp

              UC :  So I almost got busted five years ago my ex caught me fingering daughter.
                    How u get busted
              MelJ: Sting here on kik
              UC:   Damn really
              UC:   Did you get off
              MelJ: No served 4 years I'm still on probation for it


              Excerpt #2

              Mel J: Yeah but when will that be? Loi the only reason I lost my job cuz of
                     probation
              UC:    Ah man that sucks
              UC:    How much longer you have
              UC:    It wasn 't the fucking feds was it , my ex called on me accusing me of
                     touching my daughter. They did an investigation , scared the fuck out of
                     me but they could not prove it so I got lucky
              MelJ: Little over 2 years
              UC:    Ok
              MelJ: Yeah you did lol na it was state
              UC : Ah ok lol , yeah scared the piss out of me
              UC:    Your probation doesn 't check phone does he lol , don ' t want to get busted
              UC:    Love your vids though man ,
              Mel J: He dont know I got this one
              UC : Nice!
              Mel J: Lo i gotta love burners
              UC:    Does your roommates know lol ; and yes for sure
              Mel J: Yeah they do Joi they dont care

       15.     On July 12, 2021 , "Mel J" sent the UC via Kik approximately four video files

depicting child pornography and on July 13, 2021 , "Mel J" sent the UC one image file, via text

message, depicting child pornography. Your affiant reviewed each of the files and determined that




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the files contained visual depictions of a minor engaging in sexually explicit conduct, and thus

constitute child pornography under 18 U.S.C. § 2256(8). The four files are described as follows:

             a. "667fed65-3960-4fb4-8529-0119ab2f587b.mp4"            Video    length   was
                approximately one minute and 10 seconds. Video depicted a nude, prepubescent
                female being vaginally penetrated by a penis.

             b. "427ea064-d251-42a7-997c-a5ble31fbelc.mp4"              Video     length     was
                approximately 20 seconds and depicted a prepubescent boy inserting his penis into
                an adult female ' s vagina.

             c. "8d522e97-5a71-4eal-bce6-2e6ea73d617d.mp4"                Video     length    was
                approximately 48 seconds and depicted a nude female who appeared to be
                approximately 12 to 13 years old . The female appeared to be lying in the car and
                was vaginally penetrated by an adult male penis and was slapped in the face by the
                male.

             d. "7B8E0B2A-4F1E-4B3E-A98E-648E936F55E0 123 I.JPEG" - An image
                depicting a nude, prepubescent female lying on her back with her legs spread apart
                exposing her vagina.

       16.      On or about July 20, 2021 , "Mel J" sent the UC a MEGA web link via text message.

Upon receipt, the UC clicked on the link and observed approximately 600 files depicting child

pornography. As of July 22, 2021 , the web link was no longer valid.

       17.      Investigators were able to locate, through open source queries, the Google account

associated with the handle "melvl9702," which is the Kik username of "Mel J." On July 13 , 2021 ,

a subpoena was served on Google. Google responded with information that the subscriber to the

account is Melvin Janvier, III, registered to I 03 Dawes Court, Newark, Delaware 19702.

       18.      Investigators conducted a search of the Delaware on line sex offender registry and

learned that Melvin Janvier, III (hereinafter "JANVIER") is a registered sex offender.        The




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photograph of JANVIER from the online registry is very similar to the photo displayed by Kik

account "melv 19702."

        19.    Your affiant immediately contacted the probation officer responsible for JANVIER

from Delaware Probation and Parole and advised the officer that JANVIER may be violating his

supervised release by being in possession of a phone not authorized by probation.

        20.    The probation officer advised your affiant that JANVIER had been under his

supervision since September 2019 and on October 16, 2018, JANVIER signed the "Sex Offender

Special Conditions," which stated JANVIER was not allowed to have a device with access to the

Internet.

        21.    On or about July 20, 2021 , Delaware Probation and Parole conducted a search at

JANVIER's residence for evidence related to the violation of his conditions of supervision. Upon

arrival , the probation officer asked JANVIER if he was in possession of any device that may access

the Internet and JANVIER responded that he had a smartphone, which was a Samsung Galaxy

AO I smartphone, serial number R9PN50WH28J, (the "TARGET DEVICE").                   At that time,

JANVIER was placed under arrest for violating his terms of supervised release.

        22.    JANVIER provided the passcode to the TARGET DEVICE to his probation officer.

The officer observed an open chat conversation on the TARGET DEVICE that appeared to be with

the UC. The chat conversation reflected the UC ' s phone number. The probation officer also

observed an image of a prepubescent female with her legs spread apart with no clothes on. That

image appears to be the same as the image "Mel J" sent the UC on July 13 , 2021 .

        23.    JANVIER admitted to having the TARGET DEVICE for the purpose of viewing

child pornography. JANVIER stated that he had the TARGET DEVICE for under a year, but only

viewed child pornography for a few months.



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       24.     The TARGET DEVICE is currently in the possession of Delaware Probation and

Parole, located at 314 Cherry Lane, New Castle, Delaware 19720. Based on my training and               I
experience, I know that the TARGET DEVICE has been stored in a manner in which its contents

are, to the extent material to this investigation, in substantially the same state as they were when

the TARGET DEVICE first came into the possession of Delaware Probation and Parole.

                                         CONCLUSION

       25.     Based on the foregoing, there is probable cause for this Court to issue the requested

warrant.

                                                     Respectfully submitted,


                                                     Isl Linh Phung
                                                     Special Agent Linh Phung,
                                                     Federal Bureau of Investigation


Sworn to me over the telephone and signed by me pursuant to
Fed. R. Crim. P. 4.1 on this  ~      day of August, 2021.




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                                      ATTACHMENT A

                                    Property to Be Searched

         This warrant applies to information associated with a Samsung Galaxy AO 1 Smartphone,

serial number R9PN50WH28J (the "TARGET DEVICE"). The TARGET DEVICE is currently

in the custody of Delaware Probation and Parole, located at 314 Cherry Lane, Newark, Delaware

19720.




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                                      ATTACHMENT B

                                       Items to be Seized

       1.     All records on the device described in Attachment A (the "TARGET DEVICE")

that relate to violations of 18 U.S.C. § 2252A(a)(2) (distribution of child pornography) and 18

U. S.C. § 2252A(a)(5)(B) (possession of child pornography) including:

       b.     Any and all child pornography as defined under 18 U.S.C . § 2256(8);

       c.     Any and all child erotica, which includes materials or items that are sexually
              arousing to persons having a sexual interest in minors but are not necessarily child
              pornography, as defined under 18 U.S.C. § 2256(8), such as children in sexually
              provocative poses or partially/scantily clad ;

       d.     Any and all notes, documents, records, or correspondence pertammg to the
              possession, transport, distribution, receipt, or production of child pornography as
              defined under 18 U.S.C. § 2256(8), such as communications with individuals
              seeking to distribute, produce or receive child pornography ;

       e.     Any and all data that could be used to identify persons, dates/times, and devices
              involved in transmitting, transporting, receiving, or possessing, through interstate
              commerce including by U.S. Mails or by computer, any child pornography as
              defined under 18 U.S.C. § 2256(8), as well as any and all data that could be used to
              identify the victims of those crimes (such as photos, names, addresses, etc.);

       f.     Any and all records, documents, invoices, and materials that concern any accounts
              with any Internet Portal, such as Google, Inc., Microsoft, Facebook, Dropbox, etc.;

       g.     Any visual depictions of minors ;

       h.     Evidence indicating the user's state of mind as it relates to the crimes under
              investigation within this warrant - such as comments or communications evincing
              an interest in child pornography, child erotica, or sexual activities with a child;

       1.     Credit card information, bills, and           payment   records   associated   with
              subscriptions/use of Internet Portals ;

      J.      Evidence of routers, modems, and network equipment used to connect the
              TARGET DEVICE to the internet and/or other TARGET DEVICE (for example,
              to show a TARGET DEVICE was used to transport child pornography to another
              device, such as a home computer);




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   k.   Any and all electronic diaries, notebooks, notes, and other records reflecting
        personal contact and any other activities with minors visually depicted while
        engaged in sexually explicit conduct, as defined in 18 U.S.C. § 2256(8);

   I.   Any and all records relating to persuading, inducing, enticing, or coercing any
        minor to engage in sexual activity in violation of the law;

   m.   Information or records pertaining to affiliation, visitation, or use of any child
        exploitation websites;

   n.   Any and all records related to the location of the user(s) of the devices .

   o.   For the TARGET DEVICE:

        a. Evidence of who used, owned, or controlled the devices at the time the things
           described in this warrant were created, edited, or deleted, such as logs, registry
           entries, configuration files , saved usernames and passwords, documents,
           browsing history, user profiles, email , email contacts, "chat," instant messaging
           logs, photographs, and correspondence;

        b. Evidence of software that would allow others to control the Devices, such as
           viruses, Trojan horses, and other forms of malicious software, as well as
           evidence of the presence or absence of security software designed to detect
           malicious software;

        c. Evidence of the lack of such malicious software;

        d. Evidence of the attachment to the Devices of other storage devices or sim ilar
           containers for electronic evidence;

        e. Evidence of counter forensic programs (and associated data) that are designed
           to eliminate data from the Device;

        f.   Evidence of the times the Device was used ;

        g. Passwords, encryption keys, and other devices that may be necessary to access
           the Device;

        h. Documentation and manuals that may be necessary to access the Device or to
           conduct forensic examination of the Device;

        1.   Contextual information necessary to understand the evidence described in this
             attachment.




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